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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


SPEECH FIRST, INC.,
                                  Plaintiff,


v.                                                 Civil Action 2:18-cv-11451-LVP-EAS


MARK SCHLISSEL, et al. ,

                               Defendants.



               PLAINTIFF’S PARTIAL OPPOSITION TO
           DEFENDANTS’ MOTION FOR EXTENSION OF TIME

       Plaintiff Speech First, Inc. (“Speech First”) partially opposes defendants’ request

for 45 days to respond to Speech First’s motion for preliminary injunction.

       Under Local Rule 7.1(e)(2), a response to a non-dispositive motion must be filed

within 14 days after service. Defendants’ response is currently due on May 25, 2018.

Given that this is an important case raising several weighty constitutional issues, Speech

First would not oppose granting Defendants 30 days to file their response. But granting

them 45 days, which would more than triple the deadline established by this Court’s local

rules, is unjustified. This case alleges that the University’s policies are chilling protected

speech and expression, and “[t]he loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S.


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347, 373 (1976). It is understandable why Defendants want to avoid judicial review for

as long as possible. But requests for preliminary injunctions in cases far more complex

than this challenge to University speech policies can be (and often are) litigated without

any extension—let alone one this lengthy.

       Although Defendants now assure the Court that Speech First’s members will not

face disciplinary action for voicing the specific views set forth in the Complaint, they have

not even attempted to square those assurances with the actual text of the University’s

bans on “harassment” and “bias incidents.” Nor have Defendants tried to explain

where the line between the “freedom of expression” and “vigorous discourse” they

claim to celebrate and the “harassment” and “bias” they punish might be. Blessing

specific views once you are sued for having policies that chill speech does not make this

serious First Amendment problem go away. Speech First’s members cannot be forced

to guess as to what speech will subject them to discipline nor be required to preclear

their speech with Defendants to ensure it is acceptable.

       The University’s assurances, in short, prove why Speech First brought this suit

in the first place and reinforce the need for judicial intervention before the school year

begins. By leaving too much discretion to administrators, the University’s amorphous

and expansive disciplinary policies “invite[] arbitrary, discriminatory, and overzealous

enforcement” and thus chill free speech. Leonardson v. City of East Lansing, 896 F.2d 190,

195-96 (6th Cir. 1990). Until these policies are enjoined, Speech First members will be

denied the basic rights the First Amendment guarantees them.

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                                   CONCLUSION

      For the reasons set forth above, Speech First respectfully requests that the Court

set a briefing schedule in which defendants’ response to the preliminary injunction

motion is due on June 11, 2018, Speech First’s reply brief is due on June 25, 2018, and

any oral argument is held as soon as practicable thereafter.

                                                Respectfully submitted,

                                                By:/s/ John A. Di Giacomo

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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2018, I electronically filed the foregoing with the

Clerk of the Court using the ECF system. Pursuant to agreement with Defendants’

counsel, an electronic copy of the foregoing was emailed to Defendants’ counsel on

May 17, 2018.



                                         By:/s/ John A. Di Giacomo

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